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                                        UMTED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY

         UNITED STATES OF AMERICA,                          I-ION. MADELINE C. ARLEO

                           Plaintiff,                        DOCKETNO.: 2:l7crlOl-MCA


         V.
                                                                CONSENT ORDER MODIFYING
                                                                CONDITIONS OF RELEASE OF
         YANJUN LIN a/k/a AIMEE UN,                                    YANSUN UN

                            Defendant.




                THIS MATTER having been opened to the Court by the Law Office of Mccusker,

        Anselmi, Rosen & Carvelli, P.C (Bruce S. Rosen, Esq.)., appearing for defendant Yanjun Liii, with

        the consent of the United States Attorney’s Office (Anthony Moscato, AUSA.) appearing for the

        United States of America) and with no position taken by either the Government or United States

        Pretrial Services, for an Order modifying the conditions of release of Yanjun Liii (“Defendant”) to

        lift all travel restrictions within the continental United States;

                IT IS on this                day of February 2019;

                ORDERED that, the conditions of Yanjun Lin’s bail, previously limited to travel within

        the continental United States (See April 12, 2017 Order Docket No. 34), is hereby amended to

        allow for defendant’s temporary deployment by the United States Army as per deployment Orders

        provided to this Court and the Government, beginning on or about March 3, 2019. Defendant shall

        continue to periodically communicate with U.S. Pretrial as to her general location and shall report

        to Pretrial by telephone immediately upon her return to the United States;

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              IT IS FURTHER ORDERED that ull other conditions of release shall remain in effect;

       and

              IT IS FURTHER ORDERED that a copy of this Order shall be provided to Anthony

       Moscato, AUSA and Pretrial Services within one day of its receipt by counsel for Yanjun LAn in




                                                             a
       the event they do not receive the Order via electronic filing.




                                                      HON. MADELINE C. ARLEO, U.S.D.J.




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